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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                             INITIAL APPEARANCE - REMOVAL
                                                    )        COURT MINUTES - CRIMINAL
United States of America,                           )           BEFORE: DAVID T. SCHULTZ
                                                    )            U.S. MAGISTRATE JUDGE
                          Plaintiff,                )
v.                                                  )   Case No:              21-mj-724 DTS
                                                    )   Date:                 October 4, 2021
Robert Westbury,                                    )   Video Conference
                                                    )   Time Commenced:        2:22 pm
                          Defendant.                )   Time Concluded:        2:34 p.m.
                                                    )   Time in Court:         12 minutes
                                                    )
                                                    )
                                                    )

APPEARANCES:

       Plaintiff: Benjamin Bejar, Assistant U.S. Attorney
       Defendant: Keala Ede
                       X FPD         X To be appointed

       X Advised of Rights

on   X Indictment

X Date charges or violation filed: 9/29/2021
X Current Offense: civil disorder; assaulting, resisting, or impeding officers using a dangerous weapon
X Charges from other District: District of Columbia
X Title and Code of underlying offense from other District: 18:231(a)(3)
X Case no: 1:21-cr-605

Personal Recognizance Bond set with conditions, see Order Setting Conditions of Release.

Next appearance date is October 12, 2021 at 2:00 p.m. Eastern time via video conference with the District of
Columbia.

X Removal hearing waived
X Removal Order to be issued

Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
X Government moves to unseal the case. X Granted
                                                                                                  s/ JAM
                                                                           Signature of Courtroom Deputy
